
McKinney, J.
delivered the opinion of the court.
We are not prepared to say, that there is no evidence in the record before us to support. the verdict of the jury; and unless such were our opinion, we could not, under the established rule of this court, interpose to grant a new trial.
The proof shows, that at the time the work was done, and prior to that time, the plaintiff in error was in the use and occupancy of the property, and has continued to occupy, it; and that it has since been laid off and assigned to her as part of her dower of the estate of her deceased husband: that while said work was in progress, she was there giving a general superintendence; that after the death of Burton, the testator of defendant in error, the account sued for was presented to the plaintiff in error for payment, and “she made no *330objection to the account, or items, or her liability ; and stated that when the administrator of Judge White should come up, which she expected would be in the course of the fall, the-said account would be paid.”
The foregoing facts, we think, might well have been regarded by the jury as evidence of an implied contract with the plaintiff in error for the work in question, and of a promise by her to pay the same.
There is no error in the record, and the judgment will be affirmed.
